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                  In the United States Court of Federal Claims
                                      OFFICE OF SPECIAL MASTERS
                                              No. 17-710V

*************************
                           *                                      Chief Special Master Corcoran
MARC DUDASH,               *
                           *
               Petitioner, *                                      Filed: March 31, 2020
                           *
          v.               *
                           *                                      Decision by Stipulation; Damages;
SECRETARY OF HEALTH        *                                      Guillain-Barré Syndrome; Influenza
AND HUMAN SERVICES,        *                                      Vaccine.
                           *
               Respondent. *
                           *
*************************


Nancy Routh Meyers, Turning Point Litigation, Greensboro, NC, for Petitioner.

Colleen Clemons Hartley, U.S. Dep’t of Justice, Washington, D.C., for Respondent.

                                   DECISION AWARDING DAMAGES 1

       On May 30, 2017, Marc Dudash filed a petition seeking compensation under the National
Vaccine Injury Compensation Program (“Vaccine Program”). 2 Petitioner alleges that he suffered
from Guillain-Barré syndrome (“GBS”) as a result of his September 6, 2016 receipt of the
influenza (“flu”) vaccine, or in the alternative, that the flu vaccine significantly aggravated his
GSB. Moreover, Petitioner alleges that he experienced residual effects of this injury for more than
six months.


1
  Because this Decision contains a reasoned explanation for my actions in this case, I will post it on the United States
Court of Federal Claims website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 (2012). As
provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion of certain
kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen days within which
to request redaction “of any information furnished by that party: (1) that is a trade secret or commercial or financial
in substance and is privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which
would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will
be available to the public. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660,
100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine Act” or “the Act”).
Individual section references hereafter will be to § 300aa of the Act (but will omit that statutory prefix).
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        Respondent denies that the flu vaccine caused or significantly aggravated Petitioner’s GBS,
or any other injury. Nonetheless both parties, while maintaining their above-stated positions,
agreed in a stipulation (filed on March 31, 2020) that the issues before them could be settled, and
that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
(as attached hereto) is reasonable. I therefore adopt it as my decision in awarding damages on the
terms set forth therein.

         The stipulation awards:

         •    A lump sum of $40,000.00 in the form of a check payable to Petitioner.

Stipulation ¶ 8. This amount represents compensation for all damages that would be available
under Section 15(a) of the Act.

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the Court is directed to enter judgment herewith. 3


         IT IS SO ORDERED.

                                                                       /s/ Brian H. Corcoran
                                                                          Brian H. Corcoran
                                                                          Chief Special Master




3
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or separately)
a notice renouncing their right to seek review.

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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS

                                OFFICE OF SPECIAL MASTERS

                                                  )
  MARC DUDASH,
                                                  )
                                                  )
                 Petitioner,
  V.
                                                  )   No. 17-710V
                                                  )   Chief Special Master Corcoran
  SECRETARY OF HEALTH AND HUMAN ))                    ECF
  SERVICES,                     )

 _______________
      Respondent. )                               )

                                          STIEU.LATION

        The parties hereby stipulate to the following matters:

        1. Marc Dudash, petitioner, filed a petition for vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. §300aa-I0 et seq. (the "Vaccine Program").

The petition seeks compensation for injuries related to petitioner's receipt of the influenza ("flu")

vaccine, which vaccine is contained in the Vaccine Injury Table (the "Table"), 42 C.F.R. §

l 00.3(a).

        2. Petitioner received the flu vaccination on September 6, 20 16.

        3. The vaccine was administered within the United States.

       4. Petitioner alleges that he sustained Guillain-Barre syndrome ("GBS") within the time

period set forth in the Table, or in the alternative, that his GBS was ·caused or significantly

aggravated by the vaccine. He further alleges that he experienced the residual effects of this

condition for more than six months.

       5. Petitioner represents that there has been no prior award or settlement of a civil action

for damages on his behalf as a result of his condition.
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            6. Respondent denies that petitioner-sustained a GBS Table injury; denies that the vaccine

 caused or significantly aggravated petitioner's alleged GBS, or any other injury; and denies that

 his current condition is a sequelae of a vaccine-related i~jury. Medical records document that

 petitioner suffered viral infections in close temporal proximity to the onset of his alleged GBS, a

 more likely cause of GBS.

            7. Maintaining their above-stated positions, the parties nevertheless now agree that the

 issues between them shall be settled and that a decision should be entered awarding the

 compensation described in paragraph 8 of this Stipulation.

            8. As soon as practicable after an entry of judgment reflecting a decision consistent with

 the terms of th/s Stipulation,· and after petitioner has filed an election to receive compensation

 pursuant to 42 U.S.C. § 300aa-2 l(a)(l), the -Secretary of Health and Human Services will issue

the following vaccine compensation payments:

        A lump sum of $40,000.00 in the form of a check payable to petitioner. This
        amount represents compensation for all damages that would be available under 42
        U.S.C. § 300aa-15(a).

        9. As soon as practicable after the entry ofjudgment on entitlement in this case, and after

petitioner has filed both a proper and timely election to receive compensation pursuant to 42 U.S.C.

§ "300aa-2l(a)(l), and an application, the parties     will submit to further proceedings be.fore the
special master to award reasonable attorneys' fees and costs incurred in proceeding upon this
petition.

        I0. Petitioner and his attorney represent that compensation to be provided pursuant to this

Stipulation is not for any items or services for which the Program is not primarily liable under 42

U.S.C. § 300aa-l5(g), to the extent that payment has been made or can reasonably be expected to

be made under any State compensation programs, insurance policies, Federal or State health


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  benefits programs (other than Title XIX of the Social Security Act (42 U.S.C. § 1396 et seq.)), or

 by entities that provide health services on a pre-paid basis.

         11. Payment made pursuant to paragraph 8 and any amounts awarded pursuant to

 paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i). subject

 to the availability of sufficient statutory funds.

         12. The parties and their attorneys further agree and stipulate that, except for any award

 for attorneys' fees and litigation costs, and past unreimbursed expe~ses, the money provided

 purs_uant to this Stipulation will be used solely for the benefit of petitioner as contemplated by a

 strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

 § 300aa-l 5(g) and (h).

        13. In return for the payments described in paragraphs 8 and 9, petitioner, in his individual

capacity, and on behalf of his heirs, executors, administrators, successors or assigns, does forever

irrevocably and unconditionally release, acquit and discharge the United States and the Secretary

of Health and Human Services from any and all actions or causes of action (including agreements,

judgments, claims, damages, loss of services, expenses and all demands of whatever kind or

nature) that have been brought, could have been brought, or could be timely brought in the Court

of PederaJ Claims, under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-

10 et seq., on account of, or in any way growing out of, any and all known or unknown, suspected

or unsuspected personal injuries to or death of petitioner resulting from, or alleged to have resulted

from, the flu vaccination administered on or around September 6, 2016, as alleged by petitioner in

a petition for vaccine compensation filed on or about May 30, 2017, in the United States Court of

Federal Claims as petition No. l 7-7IOV.




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          14. Cf petitioner should die prior to entry of judgment, this agreement shall be voidable

  upon proper notice to the Court on behalfofeither or both of the parties.

         15. lfthe special master fails to issue a decision in complete conformity with the terms of

 this Stipulation or if the Court of Federal Claims fails to enter judgment in confonnity with a

 decision that is in complete conformity with the terms of this Stipulation, then the parties'

 settlement and this Stipulation shall be voidable at the sole discretion of either party.

         16. This Stipulation expresses a full and complete negotiated settlement of liability and

 damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended, except

 as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part of the

 parties hereto to make any payment or to do any act or thing other than is herein expressly stated

and clearly agreed to. The parties further agree and understand that the award described in this

Stipulation may reflect a compromise of the parties' respective positions as to liability and/or

amount of damages, and further, that a change in the nature of the injury or condition or in the

items of compensation sought, is not grounds to modify or revise this agreement.

        17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the flu vaccine caused petitioner's alleged GBS, or

any other injury or condition.

        18. All rights and obligations of petitioner hereunder shall apply equally to petitioner's

heirs, executors, administrators, successors, and/or assigns.

                                    END OF STIPULATION




                                                 4
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 Respectfully submitted,

 PETITIONER:



 MARC DUDASH



 ATTORNEY OF RECORD FOR                           AUTHORIZED REPRSENTATIVE
 PETITIONER:                                      OFTHEATTORNEY GENERAL:




                                                  ~                  VE~      L
Ward Black Law, P.A.                             Deputy Director
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                                                 Benjamin Franklin Station
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AUTHORIZED REPRESENTATIVE                        ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH                                          ~ c_
                                                      Lm~ ~
                                                 Rllj'ONDENT:
AND HUMAN SERVICES:

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TAMARA OVERBY                                    COLLEEN C. HARTLEY
Acting Director, Division of Injury              Trial Attorney
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Dated: ~        I   ,I :><J

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